     Case 1:25-cv-00916-JDB   Document 94   Filed 04/17/25   Page 1 of 57




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


JENNER & BLOCK LLP,
                                             Case No. 1:25-cv-00916-JDB
      Plaintiff,

v.

U.S. DEPARTMENT OF JUSTICE, et al.,

      Defendants.




         PLAINTIFF JENNER & BLOCK LLP’S MEMORANDUM OF LAW
           IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
          Case 1:25-cv-00916-JDB                        Document 94                Filed 04/17/25               Page 2 of 57




                                                   TABLE OF CONTENTS

                                                                                                                                        Page

INTRODUCTION ...........................................................................................................................1

LEGAL STANDARD ......................................................................................................................5

ARGUMENT ...................................................................................................................................6

I.        ALL OF JENNER’S CLAIMS SHOULD PROCEED. .......................................................6

          A.         Jenner Has Stated Claims for Myriad Violations of the First Amendment. ............7

                     1.         The Complaint States a Claim for First Amendment Retaliation. ...............7

                     2.         The Complaint States a Claim for Viewpoint Discrimination. ..................12

                     3.         The Complaint States a Claim for Violation of the Right to
                                Associate. ...................................................................................................13

                     4.         The Complaint States a Claim Under the Unconstitutional-
                                Conditions Doctrine. ..................................................................................14

          B.         Jenner Has Stated a Claim that the Order Violates the Right to Counsel. .............15

          C.         Jenner Has Stated a Claim that the Order Is Ultra Vires and Violates the
                     Separation of Powers. ............................................................................................16

          D.         Jenner Has Stated Claims for Violations of Due Process. .....................................17

          E.         Jenner Has Stated an Equal-Protection Claim. ......................................................20

II.       JENNER IS ENTITLED TO RELIEF AGAINST EACH AND EVERY SECTION
          OF THE ORDER. ..............................................................................................................21

          A.         The Order Must Be Understood Holistically. ........................................................22

          B.         In Any Case, the Government’s Section-Specific Arguments Lack Merit. ...........23

                     1.         Jenner Is Entitled to Relief as to Section 1 Because It Underpins the
                                Government’s Unlawful Action.................................................................23

                     2.         Jenner Is Entitled to Relief as to Section 2 Because the Order’s
                                Security Clearance Provisions Are Reviewable and Unlawful..................25

                     3.         Jenner Is Entitled to Relief as to Section 3 Because the President’s
                                Authority Over Procurement Does Not Justify the Order’s
                                Contracting Provisions. ..............................................................................29


                                                                      i
          Case 1:25-cv-00916-JDB                        Document 94                 Filed 04/17/25               Page 3 of 57




                     4.         Jenner Is Entitled to Relief as to Section 4’s Direction to Investigate
                                Jenner. ........................................................................................................34

                     5.         Jenner Is Entitled to Relief as to Section 5 Because Jenner’s
                                Challenge Is Ripe Regardless of Whether Any Guidance Is Issued. .........36

III.      THE UNITED STATES IS A PROPER DEFENDANT AND JENNER IS
          ENTITLED TO RELIEF AGAINST ALL FEDERAL AGENCIES. ...............................39

          A.         Jenner May Assert Its Claims Against Each Federal Agency by Naming the
                     United States as a Defendant. ................................................................................40

          B.         The Government’s Invocation of the President’s Immunity Is a Red Herring
                     Because No Relief Is Sought Against the President. .............................................42

          C.         Jenner Has Standing to Seek Relief as to Every Agency in the Executive
                     Branch Subject to the Order. ..................................................................................43

          D.         The Court Should Enter the Detailed Proposed Order to Ensure the
                     Government’s Compliance. ...................................................................................44

CONCLUSION ..............................................................................................................................45




                                                                      ii
          Case 1:25-cv-00916-JDB                       Document 94               Filed 04/17/25              Page 4 of 57




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

ACORN v. United States,
  618 F.3d 125 (2d Cir. 2010).....................................................................................................43

AFL-CIO v. Kahn,
   618 F.2d 784 (D.C. Cir. 1979) .................................................................................................33

Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc.,
   570 U.S. 205 (2013) .................................................................................................................15

Allen v. Louisiana,
    103 U.S. 80 (1880) ...................................................................................................................22

Am. Fed’n of Gov’t Emps. v. District of Columbia,
   2005 WL 1017877 (D.D.C. May 2, 2005) ...............................................................................31

Am. Meat Inst. v. U.S. Dep’t of Agric.,
   760 F.3d 18 (D.C. Cir. 2014) ...................................................................................................14

*Ams. for Prosperity Found. v. Bonta,
   594 U.S. 595 (2021) ...........................................................................................................13, 14

*Aref v. Lynch,
   833 F.3d 242 (D.C. Cir. 2016) ...................................................................................................7

Armstrong v. Exceptional Child Ctr., Inc.,
   575 U.S. 320 (2015) ...........................................................................................................41, 42

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................5

*Bd. of Cnty. Comm’rs v. Umbehr,
   518 U.S. 668 (1996) .....................................................................................................15, 31, 32

Bennett v. Spear,
   520 U.S. 154 (1997) .................................................................................................................30

Borough of Duryea v. Guarnieri,
   564 U.S. 379 (2011) ...................................................................................................................8

Campbell v. District of Columbia,
  126 F. Supp. 3d 141 (D.D.C. 2015) .........................................................................................18




                                                                    iii
          Case 1:25-cv-00916-JDB                       Document 94               Filed 04/17/25             Page 5 of 57




Chamber of Com. v. FEC,
   69 F.3d 600 (D.C. Cir. 1995) ...................................................................................................39

Chamber of Com. v. Reich,
   74 F.3d 1322 (D.C. Cir. 1996) .................................................................................................33

Ciralsky v. CIA,
   355 F.3d 661 (D.C. Cir. 2004) ...................................................................................................5

City of Cleburne v. Cleburne Living Ctr., Inc.,
    473 U.S. 432 (1985) .................................................................................................................20

Contractors Ass’n of E. Pa. v. Sec’y of Lab.,
   442 F.2d 159 (3d Cir. 1971)...............................................................................................33, 34

Ctr. for Biological Diversity v. EPA,
    937 F.3d 533 (5th Cir. 2019) ...................................................................................................44

Dep’t of Com. v. New York,
   588 U.S. 752 (2019) .................................................................................................................30

Dep’t of Navy v. Egan,
   484 U.S. 518 (1988) .................................................................................................................27

Edwards v. Aguillard,
   482 U.S. 578 (1987) .................................................................................................................28

EEOC v. Shell Oil. Co.,
  466 U.S. 54 (1984) ...................................................................................................................12

Engquist v. Or. Dep’t of Agric.,
   553 U.S. 591 (2008) .................................................................................................................21

Ervin & Assocs, Inc. v. Dunlap,
   33 F. Supp. 2d 1 (D.D.C. 1997) ...............................................................................................31

Ex parte Young,
   209 U.S. 123 (1908) ................................................................................................................41

FCC v. Fox Television Stations, Inc.,
  567 U.S. 239 (2012) .................................................................................................................19

Foretich v. United States,
   351 F.3d 1198 (D.C. Cir. 2003) ...............................................................................................43

Goodyear Tire & Rubber Co. v. Haeger,
   581 U.S. 101 (2017) .................................................................................................................16




                                                                    iv
          Case 1:25-cv-00916-JDB                       Document 94               Filed 04/17/25              Page 6 of 57




Goss v. Lopez,
   419 U.S. 565 (1975) .................................................................................................................18

Grayned v. City of Rockford,
   408 U.S. 104 (1972) .................................................................................................................17

Hartman v. Moore,
   547 U.S. 250 (2006) ...................................................................................................................7

Holman v. Williams,
   436 F. Supp. 2d 68 (D.D.C. 2006) ...........................................................................................19

Hous. Cmty. Coll. Sys. v. Wilson,
   595 U.S. 468 (2022) ...................................................................................................................8

Joint Anti-Fascist Refugee Comm. v. McGrath,
    341 U.S. 123 (1951) .................................................................................................................35

Kowalski v. Tesmer,
  543 U.S. 125 (2004) .................................................................................................................13

Kentucky v. Biden,
   23 F.4th 585 (6th Cir. 2022) ....................................................................................................33

*Lee v. Garland,
   120 F.4th 880 (D.C. Cir. 2024) ....................................................................................25, 26, 27

*Legal Servs. Corp. v. Velazquez,
   531 U.S. 533 (2001) .........................................................................................................5, 8, 16

Lillemoe v. USDA,
    344 F. Supp. 3d 215 (D.D.C. 2018) .........................................................................................20

Logan v. Zimmerman Brush Co.,
   455 U.S. 422 (1982) .................................................................................................................17

Lozman v. City of Riviera Beach,
   585 U.S. 87 (2018) .....................................................................................................................7

Massachusetts v. EPA,
  549 U.S. 497 (2007) .................................................................................................................44

Matsumoto v. Labrador,
   122 F.4th 787 (9th Cir. 2024) ..................................................................................................44

McGowan v. Maryland,
  366 U.S. 420 (1961) .................................................................................................................32




                                                                     v
          Case 1:25-cv-00916-JDB                      Document 94               Filed 04/17/25             Page 7 of 57




Media Matters for Am. v. Paxton,
  732 F. Supp. 3d 1 (D.D.C. 2024) .............................................................................................35

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   526 U.S. 172 (1999) ...........................................................................................................22, 23

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   251 F.3d 192 (D.C. Cir. 2001) .................................................................................................18

*Nat’l Fed’n of Fed. Emps. v. Greenberg,
   983 F.2d 286 (D.C. Cir. 1993) ...........................................................................................25, 26

Nat’l Park Hospitality Ass’n v. Dep’t of the Interior,
   538 U.S. 803 (2003) .................................................................................................................37

Navab-Safavi v. Broad. Bd. of Governors,
   650 F. Supp. 2d 40 (D.D.C. 2009) ...........................................................................................31

News Am. Publ’g, Inc. v. FCC,
   844 F.2d 800 (D.C. Cir. 1988) .................................................................................................20

Nieves v. Bartlett,
   587 U.S. 391 (2019) .............................................................................................................8, 32

O’Donnell v. Barry,
   148 F.3d 1126 (D.C. Cir. 1998) ...............................................................................................19

O’Hare Truck Serv., Inc. v. City of Northlake,
   518 U.S. 712 (1996) .................................................................................................................14

Old Dominion Dairy Prods., Inc. v. Sec’y of Def.,
   631 F.2d 953 (D.C. Cir. 1980) .................................................................................................33

P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc.,
   506 U.S. 139 (1993) .................................................................................................................41

Perkins Coie LLP v. U.S. Dep’t of Just.,
   No. 25-cv-716 (D.D.C. Mar. 12, 2025) ...................................................................................10

Perry Cap. LLC v. Mnuchin,
   864 F.3d 591 (D.C. Cir. 2017) ...........................................................................................40, 41

R.A.V. v. City of St. Paul,
   505 U.S. 377 (1992) .................................................................................................................12

Rattigan v. Holder,
   689 F.3d 764 (D.C. Cir. 2012) .................................................................................................26




                                                                   vi
          Case 1:25-cv-00916-JDB                       Document 94               Filed 04/17/25             Page 8 of 57




Reed v. Town of Gilbert,
   576 U.S. 155 (2015) .................................................................................................................12

Romer v. Evans,
   517 U.S. 620 (1996) .................................................................................................................20

Rosenberger v. Rector & Visitors of the Univ. of Va.,
   515 U.S. 819 (1995) .................................................................................................................12

Rumsfeld v. Forum for Acad. & Institutional Rts., Inc.,
   547 U.S. 47 (2006) ...................................................................................................................14

Sanders v. District of Columbia,
   85 F. Supp. 3d 523 (D.D.C. 2015) ...........................................................................................35

SEC v. Jarkesy,
   603 U.S. 109 (2024) .................................................................................................................20

Shelton v. Tucker,
   364 U.S. 479 (1960) .................................................................................................................14

Shurtleff v. City of Boston,
   596 U.S. 243 (2022) .................................................................................................................24

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    884 F.3d 338 (D.C. Cir. 2018) ...................................................................................................5

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   573 U.S. 149 (2014) .................................................................................................................37

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   No. 25-cv-1107 (D.D.C. Apr. 15, 2025) ..................................................................................10

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   719 F.3d 780 (7th Cir. 2013) ...................................................................................................20

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   595 F.3d 1303 (D.C. Cir. 2010) ...............................................................................................37

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   473 U.S. 568 (1985) .................................................................................................................28

Toolasprashad v. Bureau of Prisons,
   286 F.3d 576 (D.C. Cir. 2002) ...........................................................................................23, 32

Trudeau v. FTC,
   456 F.3d 178 (D.C. Cir. 2006) ...........................................................................................40, 42




                                                                   vii
          Case 1:25-cv-00916-JDB                       Document 94               Filed 04/17/25              Page 9 of 57




Trump v. Vance,
   591 U.S. 786 (2020) .................................................................................................................23

U.S. Dep’t of Lab. v. Triplett,
   494 U.S. 715 (1990) ...........................................................................................................15, 16

United States v. Burr,
   25 F. Cas. 30 (C.C.D. Va. 1807) ..............................................................................................23

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   584 F.2d 485 (D.C. Cir. 1978) .................................................................................................16

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   513 U.S. 454 (1995) .................................................................................................................31

United States v. O’Brien,
   391 U.S. 367 (1968) .................................................................................................................32

Unity08 v. FEC,
   596 F.3d 861 (D.C. Cir. 2010) .................................................................................................38

USPS v. Council of Greenburg Civic Ass’ns,
  453 U.S. 114 (1981) .................................................................................................................17

Util. Air Regul. Grp. v. EPA,
    573 U.S. 302 (2014) .................................................................................................................34

Virginia v. Am. Booksellers Ass’n,
   484 U.S. 383 (1988) .................................................................................................................39

Warren v. Mayor of Charlestown,
  68 Mass. (2 Gray) 84 (1854) ....................................................................................................22

*Webster v. Doe,
  486 U.S. 592 (1988) ...........................................................................................................25, 27

Wheat v. United States,
  486 U.S. 153 (1988) .................................................................................................................15

Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Off. of the President,
   No. 25-cv-917, 2025 WL 946979 (D.D.C. Mar. 28, 2025) .....................................................10

Wisconsin v. Constantineau,
   400 U.S. 433 (1971) .................................................................................................................18

Statutes and Regulations

8 C.F.R. § 31.205-33......................................................................................................................13



                                                                   viii
         Case 1:25-cv-00916-JDB                          Document 94                  Filed 04/17/25                Page 10 of 57




48 C.F.R.
   § 44.101....................................................................................................................................13
   § 52.249-2(a) ............................................................................................................................34

5 U.S.C.
   § 702................................................................................................................................. passim
   § 703.............................................................................................................................40, 42, 43

40 U.S.C.
   § 101...................................................................................................................................33, 34
   § 121(a) ....................................................................................................................................33

50 U.S.C. § 3341(b)(2) ..................................................................................................................26

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   https://perma.cc/7QK8-D6BD .................................................................................................11

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     Rule 8 .........................................................................................................................................5

     Rule 12(b)(6) ..............................................................................................................................5

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   ‘Ensure Compliance’ with Executive Orders Targeting Biglaw, Above the
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   Security Adjudicative Guidelines 6 (June 8, 2017) ..................................................................26

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   (Apr. 9, 2025, 10:34 PM), https://perma.cc/7ZZ6-3YTY .......................................................11


                                                                         ix
        Case 1:25-cv-00916-JDB                    Document 94             Filed 04/17/25           Page 11 of 57




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   Chair Andrea Lucas Sends Letters to 20 Law Firms Requesting Information
   About DEI-Related Employment Practices (Mar. 17, 2025),
   https://perma.cc/42QM-M2JC .................................................................................................21




                                                               x
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25      Page 12 of 57




                                       INTRODUCTION

       The March 25, 2025 Executive Order (“Order”) targeting Jenner & Block (“Jenner” or the

“Firm”) is a patently unconstitutional attack on the Firm, its employees, its clients, and the legal

system itself. The Order singles out Jenner’s lawyers and staff because of the Firm’s association

with a former partner who has criticized the President and because of its representation of certain

clients who have challenged the government’s actions. The Order seeks to silence Jenner and

punish its clients by systematically denying Jenner personnel access to the courthouses,

government officials, and security clearances they need for effective representation. Perversely,

the Order purports to impose these sanctions to advance “bedrock American principles” and the

“interests of the United States.” Ex. 19 (“Order”) § 1. 1 The opposite is true: Our system is

grounded on the notion that the government may not retaliate against citizens and lawyers based

on the clients they represent, the positions they advocate, the opinions they voice, and the people

with whom they associate.

       The Order’s constitutional infirmities are plain. As this Court has recognized, the First

Amendment prohibits government officials from taking “retaliatory actions for protected speech,”

and the Order “explicitly targets Jenner because of the speech the firm engages in and the

viewpoints it represents in litigation.” Tr. 47:3–12. 2 Likewise, the First Amendment forbids

viewpoint discrimination—a “particularly egregious” abridgement of free speech—yet here the

viewpoint discrimination is obvious: “[A]ll that need be said” about the President’s targeting of



1 Citations to “Ex. _” refer to the Exhibits attached to the Declarations of Michael A. Attanasio.
Exhibits 1 through 26 are attached to his declaration in support of Plaintiff’s Motion for Summary
Judgment and for Declaratory and Permanent Injunctive Relief. ECF No. 19-3. Exhibits 27 and 28
are attached to the Second Declaration of Michael A. Attanasio filed herewith.
2 Citations to “Tr. _” refer to the transcript of the temporary restraining order (“TRO”) hearing
held on March 28, 2025. ECF No. 10.


                                                 1
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25      Page 13 of 57




disfavored viewpoints “is said by the Executive Order itself,” and there is “no cogent argument

that [its] viewpoint-based sanctions” can be justified. Tr. 48:9–49:8. The Order, too, suffers from

“additional Fifth and Sixth Amendment deficiencies,” by interfering with Jenner clients’ choice of

counsel. Tr. 50:21–22. For these reasons and others, the Order is flatly unconstitutional. See ECF

No. 19-1, at 16–45 (“Jenner Br.”).

       The government’s principal defense is that the Order ensures that any dealings with the

Firm “are consistent with the national security of the United States” and “other public interests.”

ECF No. 20-1, at 1 (“Gov’t Br.”). But the Order’s references to those interests are mere “lip

service.” Tr. 49:13–16. The Order makes clear that its true interest is punishing Jenner for its

association with those who “pursue a political agenda against [the President]” and its

representation of clients whose views the President disfavors. Order § 1. It is no coincidence that

each of the recent orders targeting law firms has likewise invoked “risks” to the national interest

while focusing on each firm’s disfavored speech and associations, and it is no coincidence that

these purported “risks” vanish as soon as firms agree to advocate for the President’s preferred

causes. Indeed, all this has been admitted by the President himself: Speaking of the settling firms,

he recently explained, “I agree, they’ve done nothing wrong, but what the hell, they give me a lot

of money.” 3

       The government also clings to the theory that the President issued the Order solely to

combat racial discrimination. That purported rationale, however, is belied by the Order’s text,

which expressly sets out in detail the retaliatory animus and viewpoint discrimination that underpin

the Order while making only a conclusory reference to Jenner’s employment practices. In any




3 Keith Goldberg, Trump Wants to Use Firms That Cut Deals for Coal Leases, Law360 (Apr. 8,
2025), https://perma.cc/8S72-2AJ5.


                                                 2
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25       Page 14 of 57




event, reliance on unsupported assertions of racial discrimination provides no basis for upholding

the Order—neither the Constitution nor any law authorizes the President to act as prosecutor,

judge, jury, and executioner, simultaneously declaring and punishing alleged employment

discrimination purely by fiat. Fundamental doctrines of separation of powers and due process

preclude that very thing.

       Unable to seriously contest the Order’s overarching retaliatory intent, the government

seeks to obscure it, moving section by section to distract from the integrated whole. Thus, the

government claims unfettered presidential authority with respect to each particular arena in which

the Order operates and attempts to downplay the harms that individual provisions inflict. But the

Order as a whole takes aim at Jenner for its protected speech and association, and the Order as a

whole must therefore fall.

       Even section by section, the arguments fail. For instance, the government defends Section

3’s retaliatory restrictions on government contracting as the actions of “a private party, not … a

sovereign.” Gov’t Br. 17. But black-letter law establishes that the government may not terminate

contracts in retaliation for protected speech of the contractor (or, by necessary implication, the

speech of the contractor’s lawyer). The government also claims that Jenner’s challenge to Section

5’s restrictions on access to buildings and officials is unripe until additional “guidance” is issued.

But Jenner’s challenges present pure legal questions: whether the government may “limit[]”

Jenner’s access to government buildings and employees—burdening the constitutional rights of

Jenner and its clients—all because the government disdains Jenner’s protected activity. And no

“guidance” at all is needed to implement the President’s directive that agencies immediately

“refrain from hiring” Jenner personnel. In these circumstances, there is no question that postponing

judicial review would harm Jenner.



                                                  3
      Case 1:25-cv-00916-JDB            Document 94       Filed 04/17/25       Page 15 of 57




        With respect to Section 2’s Jenner-specific security-clearance process, the government,

again, posits a law-free zone. But the Constitution is not so easily discarded. While courts generally

lack authority to review individual clearance decisions when such review would require the court

to probe the minds of the relevant national security decisionmakers, that is not true with respect to

policies dictating different procedures or outcomes for groups—such as Asians, Catholics,

Republicans, or entire law firms—whose protected activity the government disfavors. Indeed, the

Order presents a particularly compelling case for review because the President has laid bare his

unlawful reasoning, removing any need to probe his motivation and revealing the lack of any bona

fide national-security justification.

        The need for a permanent injunction against the entire Order is clear. The Order imposes a

package of punishments inflicting immediate and lasting harm on Jenner, hampering the Firm’s

ability to represent its clients, chilling (and retaliating against) its protected speech, imposing

unrecoverable economic harms, and tarnishing the reputations of the Firm and its lawyers. Those

effects were felt in the brief period prior to this Court’s TRO and would return if any agency were

permitted to implement the Order, even in part. Moreover, even in purporting to implement the

TRO, the government has sought to undermine agency compliance, describing Jenner as

“committed to the weaponization of justice ... and other anti-American pursuits,” and maintaining

that “agencies are permitted to carry on their ordinary course of business which carries with it the

authority to decide with whom to work.” ECF No. 21-1. Against that backdrop, the broad and clear

injunctive relief Jenner proposes is urgently required.

        The stakes of this case extend beyond Jenner. The government is asserting unbridled

authority to retaliate against law firms for their advocacy and their associations. Facing down the

full coercive weight of the federal government, several firms have already submitted, avoiding



                                                  4
       Case 1:25-cv-00916-JDB            Document 94     Filed 04/17/25      Page 16 of 57




sanctions (at least for now) only through a commitment to support the President’s favored causes.

Lawyers across the country are presently debating whether to resist this pressure or “settle”—but

no lawyer should be put to that choice. Lawyers cannot be the dedicated advocates for their clients

that our profession requires if they are threatened with government punishment for their speech

and associations. Clients cannot receive the effective representation the Constitution guarantees if

their lawyers fear retaliation for defending disfavored positions in court or associating with

disfavored individuals. The Judiciary cannot provide the independent judgment the Constitution

demands if it cannot find “an informed, independent bar” comprising “lawyers who advocate

zealously for all clients.” Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 545, 546 (2001); Tr.

54:4–5. Truly, as this Court observed, “the legal profession as a whole is watching.” Tr. 54:25.

The government’s motion to dismiss should be denied, and Jenner’s motion for summary judgment

should be granted.

                                        LEGAL STANDARD

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter … to

state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citation omitted). When evaluating the sufficiency of a complaint under Rule 12(b)(6), courts

must “accept the plaintiff’s factual allegations as true and construe the complaint liberally,

grant[ing] plaintiff[] the benefit of all inferences that can [reasonably] be derived from the facts

alleged.” Sickle v. Torres Advanced Enter. Sols., LLC, 884 F.3d 338, 344–45 (D.C. Cir. 2018)

(alterations in original) (citation omitted). 4


4 The government’s critique of the complaint as a “shotgun pleading” that fails to specify which
“claims in the Complaint pertain to which sections of the Executive Order,” Gov’t Br. 3–4, rests
on the false premise that Jenner’s challenge to the Order must be pleaded and analyzed section by
section. But “Rule 8 does not require a ‘short and plain complaint,’ but rather a ‘short and plain
statement of the claim,’” Ciralsky v. CIA, 355 F.3d 661, 670 (D.C. Cir. 2004) (quoting Fed. R.


                                                  5
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25       Page 17 of 57




                                           ARGUMENT

       The motion to dismiss should be denied. All of Jenner’s claims should be permitted to

proceed. See infra Part I. The Order violates the First, Fifth, and Sixth Amendments, is not

authorized by statute, and is a grave threat to the separation of powers.

       Further, Jenner’s suit should be permitted to proceed with respect to the entire Order. See

infra Part II. The government mounts a section-by-section defense, emphasizing the President’s

authority over the particular domains covered by each individual provision in isolation. But no

section-by-section analysis is necessary, because the Order as a whole is unconstitutional: Its

purpose is to retaliate against Jenner for its speech and associations that are protected by the First

Amendment, including its representation of clients adverse to the government and its association

with a critic of the President. And in any case, even when examined individually, each section of

the Order is unconstitutional. Whatever authority the government might have over clearances, or

contracting, or access to federal buildings and engagements, that authority does not give it free

rein to punish lawyers for their speech and to strip lawyers and their clients of due process.

I.     ALL OF JENNER’S CLAIMS SHOULD PROCEED.

       The government does not meaningfully contest that the First Amendment prohibits

retaliation on the basis of protected associations and the (imputed) viewpoints of the Firm. Instead,

the government’s primary contention is that Jenner has not stated a First Amendment retaliation

claim because the impetus for the Order was not Jenner’s protected speech and associations, but

rather the President’s desire to combat what he has unilaterally declared to be employment

discrimination. That contention is refuted by the text of the Order itself, which makes plain its




Civ. P. 8(a)(2)), and incorporating prior paragraphs of a complaint alongside additional allegations
for each count is a routine pleading practice.


                                                  6
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25     Page 18 of 57




retaliatory intent, and by the broader context of the Order—which was issued as part of a series of

orders targeting only those law firms whose protected litigation activity and associations offend

the President. Otherwise, the government raises a series of unfounded objections to Jenner’s

remaining claims. And the bulk of the government’s motion attempts to offer arguments why

certain sections of the Order are lawful, notwithstanding the Order’s retaliatory intent. Those

meritless arguments are addressed in Part II below.

       A.      Jenner Has Stated Claims for Myriad Violations of the First Amendment.

       Jenner has advanced six First Amendment claims: retaliation (Count I); viewpoint

discrimination (Count II); freedom of association (Count III); right to petition (Count IV);

compelled disclosure (Count V); and unconstitutional conditions (Count VI). ECF No. 1

(“Compl.”) ¶¶ 140–187; Tr. 46:23–50:18. Each of these counts states a claim under the First

Amendment. 5

               1.     The Complaint States a Claim for First Amendment Retaliation.

       “[T]he First Amendment prohibits government officials from subjecting an individual to

retaliatory actions ... for speaking out.” Hartman v. Moore, 547 U.S. 250, 256 (2006); see Lozman

v. City of Riviera Beach, 585 U.S. 87, 90 (2018). To state a claim for First Amendment retaliation,

Jenner must show that (1) it “engaged in conduct protected under the First Amendment”; (2) the

government “took some retaliatory action sufficient to deter a person of ordinary firmness in

[Jenner]’s position from speaking again”; and (3) there is a “causal link between the exercise of a

constitutional right and the adverse action.” Aref v. Lynch, 833 F.3d 242, 258 (D.C. Cir. 2016).

Jenner adequately alleges each element.




5 The government advances no basis for dismissing Jenner’s claim under the Petition Clause.



                                                7
      Case 1:25-cv-00916-JDB            Document 94        Filed 04/17/25      Page 19 of 57




       As to the first element, the government does not and cannot contest the basic premises of

Jenner’s claim. Jenner’s speech, including its advocacy on behalf of its clients in court, is protected

by the First Amendment. See, e.g., Legal Servs., 531 U.S. at 542–49. Likewise, Mr. Weissmann’s

speech and the expressive association between Jenner and Mr. Weissmann, which supposedly cast

doubt on Jenner’s “values and priorities,” Order § 1, is protected by the First Amendment. And

finally, the First Amendment’s Petition Clause protects litigation as well as advocacy before

Executive Branch agencies. See Borough of Duryea v. Guarnieri, 564 U.S. 379, 387 (2011).

       As to the second element, it cannot seriously be disputed that the Order “constitutes a

sufficiently adverse action” that would deter an entity of “ordinary firmness” and “give rise to an

actionable First Amendment claim.” Hous. Cmty. Coll. Sys. v. Wilson, 595 U.S. 468, 477 (2022).

The Order is a comprehensive package of sanctions that includes (1) branding Jenner as engaging

in “conduct detrimental to critical American interests,” Order § 1; (2) subjecting Jenner personnel

to a bespoke security-clearance review process, id. § 2; (3) forcing Jenner clients to disclose their

relationship with the Firm and risk termination of contracts, id. § 3(a); (4) subjecting Jenner to a

sham investigation for compliance with civil-rights laws, id. § 4; and (5) limiting Jenner

employees’ access to federal buildings, officials, and employment, id. §§ 2(b), 5. The very purpose

of the Order is to chill Jenner from engaging in speech or associations disliked by the government.

       Instead, the government primarily contests the third element, regarding causation. See

Gov’t Br. 26–27, 31. This element requires Jenner to show that the government’s “retaliatory

motive” is a “‘but-for’ cause” of the injuries the Order inflicts. Nieves v. Bartlett, 587 U.S. 391,

398–99 (2019). Pointing to the Order’s one-sentence reference to Jenner’s allegedly discriminatory

hiring practices, the government claims that its motive was not to target Jenner’s protected speech

but instead to punish employment discrimination. See, e.g., Gov’t Br. 9.



                                                  8
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 20 of 57




       That claim is directly contradicted by the Order itself, which makes clear that retaliation is

its but-for cause. The Order’s self-proclaimed “Background” emphasizes that Jenner has

represented the wrong clients (including transgender people and immigrants), taken the wrong

sides in “partisan” disputes, pursued “destructive causes,” expressed the wrong beliefs (including

its alleged “refusal to accept the biological reality of sex”), and associated with the wrong lawyers

who have done and said the wrong things (including Mr. Weissmann’s participation in a “partisan

prosecution” and his advocacy for a “political agenda” against the President). Order § 1. The Fact

Sheet reiterates that Jenner is being punished for Mr. Weissmann’s “role in engaging in partisan

prosecution as part of Robert Mueller’s entirely unjustified investigation,” and that Mr.

Weissmann’s former employment by Jenner “is a concerning indictment of Jenner’s values and

priorities.” Ex. 20. And even the recent (and belated) notice issued by the Attorney General and

the Director of the Office of Management and Budget accused Jenner of “anti-American pursuits.”

ECF No. 21-1. These statements make crystal clear that Jenner is being targeted for its

representations in court of disfavored entities and positions, and its associations with disfavored

individuals. As this Court found, the Order “facially retaliates against Jenner because of its speech

and association.” Tr. 48:1–5.

       Moreover, the government’s retaliatory intent is confirmed by the fact that every executive

order targeting law firms has expressly cited the targeted firm’s legal representations and

associations with the President’s enemies. The Perkins Coie order and accompanying Fact Sheet

emphasize that the firm “represent[ed] failed Presidential candidate Hillary Clinton,” “worked

with activist donors” on election-law litigation, Ex. 6 § 1, and “filed lawsuits against the Trump

Administration,” Ex. 7. Paul Weiss filed lawsuits “on behalf of clients, pro bono,” challenging

government policies, and brought “a pro bono suit against individuals alleged to have participated



                                                 9
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 21 of 57




in the events [of] January 6, 2021.” Ex. 10 § 1. WilmerHale (the President says) engaged “in

obvious partisan representations to achieve political ends,” including voting-rights litigation.

Ex. 21 § 1. And the order targeting Susman Godfrey LLP (issued on April 9, 2025, after this

Court’s TRO) references that firm’s “efforts to weaponize the American legal system” by

participating in election-related litigation. Ex. 27 § 1; see also Ex. 28 (Fact Sheet). The targeted

firms have also nearly all represented or associated with individuals the President does not like.

Unsurprisingly, then, three other judges have also found these orders to be facially retaliatory. 6

       The government’s theory that the Order targets employment discrimination also makes no

sense in light of how the Order arose or what the Order actually does. The Order did not follow

any investigation, does not reflect any particular findings about Jenner’s employment practices,

and cannot be reconciled with the statutory and regulatory scheme that actually governs

employment discrimination law. Instead, the Order directs agency heads to develop guidance

preventing government personnel from “engaging with Jenner” in order to “ensure consistency

with the national security and other interests of the United States.” Order § 5(a). Agency officials

are likewise directed to “refrain from hiring employees of Jenner” absent a specific finding by

multiple high-level government officials that hiring a particular employee “will not threaten the

national security of the United States.” Id. § 5(b). It should be obvious that Jenner’s alleged

discrimination in employment cannot be what renders every one of its employees—from

“managing partners to office staff,” Tr. 50:4–7—a presumptive national-security risk. Only


6 See Tr. of Hr’g at 75:12–13, Perkins Coie LLP v. U.S. Dep’t of Just., No. 25-cv-716 (D.D.C.
Mar. 12, 2025), ECF No. 22 (“The retaliatory nature of Executive Order 14230 is clear from its
face.”); Wilmer Cutler Pickering Hale & Dorr LLP v. Exec. Off. of the President, 2025 WL
946979, at *1 (D.D.C. Mar. 28, 2025) (“The retaliatory nature of the Executive Order at issue here
is clear from its face[.]”); Tr. of Mot. Hr’g at 44:23–5, Susman Godfrey LLP v. Exec. Office of the
President, No. 25-cv-1107 (D.D.C. Apr. 15, 2025), ECF No. 19 (“[T]he retaliatory nature of the
executive order is plain from the language of the [order].”).


                                                 10
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 22 of 57




retaliation explains the Order’s package of sanctions. Indeed, as the government conceded when

pressed on the point at the TRO hearing, the Order offers no rationale for why Jenner poses these

purported risks other than Jenner’s protected activity. Tr. 21:14–22:16; see Tr. 20:6–9 (“I think

any member of the Executive who would be wrestling with how to implement [the Order’s

substantive provisions] would necessarily be resorting and looking at what was said in Section 1

to guide that decision.”).

       Moreover, in publicizing the recent orders, the President’s and his Administration’s

communications have continually focused on purported “lawfare” through client representations

(otherwise known as protected First Amendment activity). 7 Indeed, when signing the Order here,

the President made sure to remark that Jenner was targeted because of its association with Mr.

Weissmann (the “main culprit”). 8 And despite a recent announcement of investigations into

employment practices at twenty law firms, only two of those firms were targeted with executive

orders, and neither was singled out on the sole basis of alleged racial discrimination. 9 It is plain

that the government is targeting speech, not purported employment discrimination.

       For these reasons, the government’s arguments that Jenner cannot “demonstrate the

requisite causal link” between its protected conduct and the specific retaliatory actions outlined in




7 Order § 1; Trump Signs Executive Order Targeting Law Firm Susman Godfrey, Reuters (Apr.
9, 2025, 10:34 PM), https://perma.cc/7ZZ6-3YTY; see also Donald J. Trump
(@realDonaldTrump), Truth Social (Apr. 1, 2025, 4:47 PM), https://perma.cc/7QK8-D6BD (“The
President is delivering on his promises of eradicating Partisan Lawfare in America.”).
8 Compl. ¶ 102 & n.11 (quoting Brett Samuels, Trump Signs Order Targeting Law Firm that
Employed Mueller Team Prosecutor, The Hill (Mar. 25, 2025, 3:12 PM), https://perma.cc/6234-
SBMW).
9 See Ex. 6 § 1 (targeting Perkins Coie because of its representation of Hillary Clinton and “work[]
with activist donors”); Ex. 21 § 1 (targeting WilmerHale because of its “abuse[] [of] its pro bono
practice” and association with Robert Mueller).


                                                 11
      Case 1:25-cv-00916-JDB            Document 94        Filed 04/17/25       Page 23 of 57




Sections 3, 4, and 5 of the Order also fail. Gov’t Br. 27, 31; see id. at 20. As noted, that causal link

is established on the face of the Order, and the Order operates as a single, unified policy.

                2.      The Complaint States a Claim for Viewpoint Discrimination.

       Viewpoint discrimination is an “egregious form of content discrimination” subject to strict

scrutiny. Reed v. Town of Gilbert, 576 U.S. 155, 168–69 (2015) (quoting Rosenberger v. Rector

& Visitors of the Univ. of Va., 515 U.S. 819, 829 (1995)). The Order targets Jenner for its alleged

“obvious partisan representations to achieve political ends,” as well as in its litigation positions on

behalf of transgender and immigrant clients—areas where the government disfavors the positions

of Jenner’s clients. Order § 1. In other words, the Order punishes Jenner for adopting viewpoints

(through its representation) that the government dislikes. That is viewpoint discrimination and, as

this Court has recognized, “[t]here is no cogent argument that these viewpoint-based sanctions”—

which broadly apply to all Jenner employees—“are likely to pass strict scrutiny.” Tr. 49:6–8.

       Here again, the government’s attempt to find refuge in its purported employment-

discrimination rationale is unavailing. Gov’t Br. 20–21. Of course, the President does not have the

authority to impose arbitrary sanctions without due process based on his unilateral determination

that a law firm engaged in employment discrimination. See, e.g., EEOC v. Shell Oil. Co., 466 U.S.

54, 61–64 (1984) (setting forth Title VII’s detailed remedial scheme for addressing allegations of

employment discrimination). Moreover, even when acting where the President does have

authority, viewpoint discrimination is still prohibited. The Supreme Court has made clear that,

even in the criminal context, the government cannot treat certain violators more harshly because

of their viewpoints. See R.A.V. v. City of St. Paul, 505 U.S. 377, 379–80, 380 n.1, 391 (1992). So

too here: Jenner’s purported employment discrimination could not justify the President’s

unabashed decision to single out Jenner based on viewpoint.




                                                  12
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 24 of 57




               3.      The Complaint States a Claim for Violation of the Right to Associate.

       The Order abridges Jenner’s freedom of association by compelling government contractors

to “disclose any business they do with Jenner.” Order § 3(a). The government argues that Jenner

lacks standing to challenge the compelled disclosure of its clients’ confidential information about

their retention of the Firm. Gov’t Br. 18–20. But even the “risk of a chilling effect on association”

triggers the “protections of the First Amendment.” Jenner Br. 23 (quoting Ams. for Prosperity

Found. v. Bonta, 594 U.S. 595, 618–19 (2021)). Further, Jenner’s clients face the ultimate

“hindrance to … [their] ability to protect [their] own interests.” Kowalski v. Tesmer, 543 U.S. 125,

130–31 (2004). Bringing any claim would require them to disclose their business with the Firm—

the precise First Amendment harm Jenner seeks to prevent.

       The government is wrong that Defendants are “entitled to monitor” Jenner’s work as a

subcontractor. Gov’t Br. 22. To begin, the government cites nothing to back up its dubious claim

that a law firm retained by a contractor in connection with a particular contract is “very likely … a

government subcontractor.” 10 Id. And in any event, Section 3 mandates disclosures of “any”

business that contractors do with Jenner, not just business that is “related to the subject of the

Government contract.” Order § 3(a) (emphasis added). As the government concedes, Gov’t Br. 22,

compelled disclosures are subject to “exacting scrutiny”—meaning that compelled disclosures can

be lawful only when there is a “substantial relation between the disclosure requirement and a

sufficiently important government interest.” Ams. for Prosperity, 594 U.S. at 607 (citation

omitted). Yet here the government has not even established any “sufficiently important” interest



10 A subcontractor is hired to perform “a portion of an existing contract.” Subcontractor, Black’s
Law Dictionary (12th ed. 2024); accord 48 C.F.R. § 44.101. When a prime contractor retains
outside counsel to advise on a contract, the law firm is not itself performing a portion of the
contract, and is not classified as a subcontractor. See 8 C.F.R. § 31.205-33 (recognizing legal
advice as an allowable cost in some cases but not classifying law firms as subcontractors).


                                                 13
      Case 1:25-cv-00916-JDB             Document 94         Filed 04/17/25       Page 25 of 57




that could justify Section 3’s blunt sanctions. See Jenner Br. 24.

        The government cannot avoid exacting scrutiny with its assertion that the disclosures

compelled here are “purely factual and uncontroversial,” Am. Meat Inst. v. USDA, 760 F.3d 18, 27

(D.C. Cir. 2014), and made “only to the Government,” Gov’t Br. 22. Section 3 requires contractors

to disclose sensitive information about their attorney-client relationships—a far cry from the

country-of-origin information at issue in American Meat Institute. See 760 F.3d at 20. And such a

disclosure requirement, particularly when coupled with the Order’s threats of retribution, “chill[s]

association” even absent “‘disclosure to the general public.’” Ams. for Prosperity, 594 U.S. at 616

(quoting Shelton v. Tucker, 364 U.S. 479, 486 (1960)).

                4.      The Complaint States a Claim Under the Unconstitutional-Conditions
                        Doctrine.

        The First Amendment forbids the government from conditioning access to government

services and benefits on adherence to the government’s viewpoint. That is true even where the

person “has no entitlement to that benefit.” Rumsfeld v. Forum for Acad. & Institutional Rts., Inc.,

547 U.S. 47, 59 (2006) (citation omitted). On its face, the Order does precisely that.

        The government responds that it is just a “fact of life,” Gov’t Br. 21, that not everyone can

contract with the government. This defense is wrong for two reasons. First, the Order does not

simply reflect the choice of whom the government will contract with; it directs agencies to

“terminate any contract” with a Jenner-associated party. Order § 3(b)(i) (emphasis added). It is

black-letter law that the government may not terminate its relationships with contractors on the

basis of their protected associations. See O’Hare Truck Serv., Inc. v. City of Northlake, 518 U.S.

712, 714–15 (1996) (holding that, “[a]lthough the government has broad discretion in formulating

its contracting policies,” it may not “retaliate[] against a contractor, or a regular provider of

services, for the exercise of rights of political association or the expression of political allegiance”);


                                                   14
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25      Page 26 of 57




Bd. of Cnty. Comm’rs v. Umbehr, 518 U.S. 668, 677 (1996) (government may not “terminate

contracts … in retaliation for protected First Amendment activity”).

       Second, even when the government has power to choose viewpoint winners and losers

through funding decisions made in the context of a government program, the First Amendment

prohibits the government from “leverag[ing] funding to regulate speech outside the contours of the

program itself.” Agency for Int’l Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 214–15

(2013). Here, the “program itself”—whatever program is authorizing the contract with the

government contractor—has nothing to do with the speech being regulated: speech by Jenner in

the context of unrelated litigation matters as well as Jenner’s decision to associate with its ex-

partner Andrew Weissmann. Accordingly, the First Amendment prohibits the government from

targeting contractors who retain Jenner.

       B.      Jenner Has Stated a Claim that the Order Violates the Right to Counsel.

       Jenner has also properly stated a right-to-counsel claim under both the Fifth and Sixth

Amendments. Compl. ¶¶ 227–238 (Counts XI and XII); see Jenner Br. 26–28; see also Tr. 50:19–

51:5 (concluding that Jenner is likely to succeed on the merits of its right-to-counsel claims). The

Order undermines Jenner’s ability to serve effectively as counsel, leaving clients with a

constitutionally impermissible choice—either continue to be represented by their counsel of

choice, who may be stopped at the courthouse entrance or barred from engaging with federal

regulators, prosecutors, or other federal officials, or cease to be represented by their preferred

attorneys. The Fifth and Sixth Amendments do not tolerate this sort of Hobson’s choice. See U.S.

Dep’t of Lab. v. Triplett, 494 U.S. 715, 717, 720–21 (1990); Wheat v. United States, 486 U.S. 153,

158–59 (1988); Jenner Br. 26–28. Contrary to the government’s contention, Gov’t Br. 24, when

the government punishes lawyers as a means of violating clients’ constitutional rights, the lawyers




                                                15
      Case 1:25-cv-00916-JDB            Document 94         Filed 04/17/25     Page 27 of 57




are the proper party to vindicate those constitutional rights in court. See Jenner Br. 26, 28 (citing

Triplett, 494 U.S. at 720).

        The government contends that the right to counsel “cannot be insisted upon in a manner

that will obstruct an orderly procedure in courts of justice” or where it interferes with the “prompt,

effective, and efficient administration of justice.” Gov’t Br. 7 (quoting United States v. Burton,

584 F.2d 485, 489 (D.C. Cir. 1978)); see also Gov’t Br. 31 (similar). But neither the Order nor the

government’s brief explains how the Order safeguards the justice system. To the contrary, it is the

Order’s arbitrary limitation on who may serve as an attorney that eviscerates the constitutional

right to counsel and undermines the “prompt, effective, and efficient administration of justice.”

        C.      Jenner Has Stated a Claim that the Order Is Ultra Vires and Violates the
                Separation of Powers.

        Jenner has stated a claim alleging ultra vires action and a violation of the separation of

powers. Compl. ¶¶ 239–253 (Count XIII); see Jenner Br. 28–31. The Order violates the separation

of powers by intruding on the judiciary’s role in determining which legal arguments are

meritorious, see Legal Servs., 531 U.S. at 546, and which are worthy of sanction, see Goodyear

Tire & Rubber Co. v. Haeger, 581 U.S. 101, 107 (2017). Further, the Order exceeds the President’s

authority. See Jenner Br. 29–31. Neither the Order itself nor the government’s motion to dismiss

identifies a statutory or constitutional basis for targeting a single law firm—and all its attorneys

and staff—based on litigation positions taken on behalf of its clients. Indeed, doing so constitutes

a bill of attainder that the President has no authority to issue.

        The government argues that Jenner’s ultra vires claim fails because the President generally

has authority with respect to each of the domains covered by Sections 2, 3, 4, and 5 of the Order.

For example, in the context of Section 5, the government argues Jenner has not properly stated an

ultra vires claim because that would require Jenner to argue that “Federal agencies lack any


                                                  16
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25      Page 28 of 57




authority to control who can enter their buildings or interact with their employees on official

business.” Gov’t Br. 30. But Jenner in no way is asserting a “constitutional right to enter

government buildings at will.” Id. (citing USPS v. Council of Greenburg Civic Ass’ns, 453 U.S.

114, 129 (1981)). Jenner is instead claiming that the President has no constitutional or statutory

basis to unilaterally target law firms and their employees based on their speech and associations.

The Executive’s general authority to police access to government buildings is entirely

unresponsive to the ultra vires claim that Jenner has brought.

       D.      Jenner Has Stated Claims for Violations of Due Process.

       The Order violates procedural due process because it deprives Jenner of constitutionally

protected property and liberty interests without any process whatsoever. Compl. ¶¶ 188–207

(Counts VII and VIII); see Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982); Jenner Br.

31–33. Jenner had no government notice of the Order before it issued; there was no process prior

to the Order’s issuance; and Jenner has no opportunity to participate in the agency review processes

the Order commands.

       The Order’s vagueness also independently violates due process. The Order “impermissibly

delegates” policy choices to hundreds of federal agencies “for resolution on an ad hoc and

subjective basis, with the attendant dangers of arbitrary and discriminatory application.” Grayned

v. City of Rockford, 408 U.S. 104, 108–09 (1972). The Order does not clearly specify how far its

sanctions extend. And—by design—it prevents Jenner and its clients from knowing what “national

security” risks Jenner poses or what federal buildings are inaccessible to Jenner personnel. Compl.

¶¶ 208–217 (Count IX); see ECF No. 19-2 (“SUMF”) ¶¶ 75, 78.

       The government provides no valid grounds for dismissal of Jenner’s due-process claims.

As for procedural due process, the government does not dispute that the Order strips Jenner of its




                                                17
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25     Page 29 of 57




liberty interest in petitioning the government and its property interest in its contractual

relationships with its clients. See Compl. ¶ 190; Jenner Br. 31–32.

       Contrary to the government’s contention, the Order also unconstitutionally strips Jenner of

its reputational interests. The Supreme Court has long held that “[w]here a person’s good name,

reputation, honor, or integrity is at stake because of what the government is doing to him, notice

and an opportunity to be heard are essential.” Wisconsin v. Constantineau, 400 U.S. 433, 437

(1971); see Goss v. Lopez, 419 U.S. 565, 574–75 (1975); Nat’l Council of Resistance of Iran v.

Dep’t of State, 251 F.3d 192, 203–04 (D.C. Cir. 2001). The Order attempts to tar Jenner’s

reputation at every turn: For instance, it declares that Jenner “undermine[s] bedrock American

principles,” Order § 1; “has abandoned the profession’s highest ideals,” id.; “supports attacks

against women and children,” id.; promotes violence and drug trafficking, id.; is a sufficiently

serious national-security risk to justify summary suspension of security clearances and

presumptive exclusion from federal buildings, id. §§ 2(a), 5(a); and is composed of lawyers too

untrustworthy to engage with the government in any capacity, id. §§ 3, 5.

       In response, the government invokes the inapposite “reputation-plus” line of cases, under

which a government employee who is terminated must also allege that he was defamed at the same

time in order to assert a procedural-due-process claim. Gov’t Br. 10–11. But Jenner is not a

government employee that the government is exercising its right to terminate; it is a private

organization that is the target of government retaliation. And even the cases the government

invokes recognize that defamation is not an element of a due-process claim where, as here, the

reputational injury is not merely a product of “official speech, but [of] a continuing stigma or

disability arising from official action.” Campbell v. District of Columbia, 126 F. Supp. 3d 141,




                                                18
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 30 of 57




153 (D.D.C. 2015) (quoting O’Donnell v. Barry, 148 F.3d 1126, 1140 (D.C. Cir. 1998)); see

Holman v. Williams, 436 F. Supp. 2d 68, 79 (D.D.C. 2006).

       As such, the Order strips Jenner of property and liberty interests protected by the Due

Process Clause. Because the process provided here (i.e., none) was constitutionally insufficient,

Jenner has stated a due-process claim. See Compl. ¶¶ 191–192; SUMF ¶ 56; Jenner Br. 32.

       As for vagueness, the Order violates Due Process because of (a) the lack of any detail as

to what laws Jenner has allegedly violated and how it can avoid violating them in the future; and

(b) the inscrutable direction to hundreds of federal agencies to develop arbitrary guidance

addressing pretextual national-security concerns that purportedly exist because a former Jenner

employee has criticized the President and because Jenner represents transgender and immigrant

plaintiffs in litigation. Contrary to the government’s contention (Gov’t Br. 12), the vagueness

doctrine applies outside the context of criminal statutes. In FCC v. Fox Television Stations, Inc.,

567 U.S. 239 (2012)—a case that likewise did not involve a criminal statute—the Supreme Court

embraced a vagueness challenge to agency action because there was no “fair notice of what was

forbidden.” Id. at 254. And the vagueness concerns in Fox were amplified for two reasons: First,

“[w]hen speech is involved, rigorous adherence to [fair-notice] requirements is necessary to ensure

that ambiguity does not chill protected speech,” id. at 253–54, and second, the challenged orders

were likely to have “an adverse impact on [the target]’s reputation,” id. at 256. Just so here.

       Finally, to the extent the government argues that the Order is actually premised on findings

about Jenner’s employment practices, that only heightens the due-process concerns. Congress has

enacted a comprehensive set of employment-discrimination laws and procedures for enforcement.

Before they are enforced, employers get due process. Nothing in our laws or constitutional

tradition permits the President to dispense with all due process, declare that a private party has



                                                 19
      Case 1:25-cv-00916-JDB            Document 94        Filed 04/17/25      Page 31 of 57




violated those laws, and then proceed to sanction not only the “guilty” party, but also all of its

employees and clients, by imposing a host of punishments that have nothing to do with the alleged

employment discrimination. “[C]oncentrat[ing] the roles of prosecutor, judge, and jury in the

hands of the Executive Branch” in this fashion “is the very opposite of the separation of powers

that the Constitution demands.” SEC v. Jarkesy, 603 U.S. 109, 140 (2024); see Jenner Br. 28–29.

       E.      Jenner Has Stated an Equal-Protection Claim.

       The Order violates equal protection by intentionally treating Jenner differently from

similarly situated entities without a rational basis. See Compl. ¶¶ 218–226 (Count X); Jenner Br.

33. The government urges the Court to apply rational-basis review, but in the context of differential

treatment burdening First Amendment rights, heightened scrutiny applies. See News Am. Publ’g,

Inc. v. FCC, 844 F.2d 800, 802 (D.C. Cir. 1988); see also Swanson v. City of Chetek, 719 F.3d

780, 784 (7th Cir. 2013).

       Even under rational basis review, it is well established that a “bare … desire to harm a

politically unpopular group” does not suffice. City of Cleburne v. Cleburne Living Ctr., Inc., 473

U.S. 432, 446–47 (1985) (alteration in original) (citation omitted); see also Romer v. Evans, 517

U.S. 620, 632 (1996). The government emphasizes that plaintiffs must “plead facts that establish

that there is not any reasonable conceivable state of facts that could provide a rational basis for the

classification.” Gov’t Br. 7 (quoting Lillemoe v. USDA, 344 F. Supp. 3d 215, 229 (D.D.C. 2018));

see Gov’t Br. 23. As described, Jenner has satisfied that demanding standard here: Jenner is being

targeted for protected speech and associations; the government’s “national security” rationale is

entirely pretextual and unsupported; and, regardless, the “racial discrimination” rationale cannot

justify the Order because that unsupported rationale does not even distinguish Jenner from other

similarly situated entities that also have been accused of having the same allegedly discriminatory

practices.

                                                  20
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 32 of 57




       The government further contends that Jenner’s class-of-one claim must fail as to the

Order’s contracting provisions because Jenner is not “similarly situated” to “other potential

government contractors who do not engage in unlawful DEI practices.” Gov’t Br. 23. But the

reference to “unlawful DEI practices” is pretextual because Section 1 makes plain that Jenner is

being singled out in retaliation for its protected speech and associations. The EEOC is investigating

twenty other law firms for employment discrimination, yet the Order is laser focused on Jenner. 11

And the government’s assertion that class-of-one claims are unavailable for “employee

grievance[s],” id. (quoting Engquist v. Or. Dep’t of Agric., 553 U.S. 591, 609 (2008)), is

unavailing. The Order is not analogous to a “subjective, individualized” personnel decision,

Engquist, 553 U.S. at 603, but rather is a retaliatory threat to Jenner and its clients’ ability to

contract with the government wholesale.

II.    JENNER IS ENTITLED TO RELIEF AGAINST EACH AND EVERY SECTION OF
       THE ORDER.

       Instead of contesting the viability of Jenner’s claims, the government attempts to salvage

the Order by reframing what it is and what it does. Rather than read the Order as a comprehensive

package of sanctions targeting Jenner for its representations and its associations, the government

urges that this Court treat the Order as a series of independent executive actions apparently

divorced from the clear, unifying, retaliatory theme. Gov’t Br. 8–35. The Court should read the

Order as a single unified whole and find it unconstitutional. And even if the Order could be

disentangled into component parts, the government’s defenses of those parts fail.




11 U.S. Equal Emp. Opportunity Comm’n, Press Release: EEOC Acting Chair Andrea Lucas
Sends Letters to 20 Law Firms Requesting Information About DEI-Related Employment Practices
(Mar. 17, 2025), https://perma.cc/42QM-M2JC.


                                                 21
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25       Page 33 of 57




       A.      The Order Must Be Understood Holistically.

       The Order should be enjoined in its entirety because it suffers from overarching

constitutional defects that affect every section. The entire Order was imposed to retaliate against

Jenner’s protected speech, petitioning, and association. The entire Order was imposed without due

process. The entire Order lacks a statutory hook and violates separation-of-powers principles. To

ask whether a particular directive within the Order withstands constitutional scrutiny, standing

alone, is to be purposefully blind to the context in which that directive arose.

       Further, even if a subset of the Order’s sections were constitutional (which they are not),

the entire Order should still be invalidated because those sections are not severable. Where

provisions of an executive order “are so mutually connected with and dependent on each other”

and it is clear “that the [President] intended them as a whole,” the entirety of the order must fall

with the unconstitutional provisions. Allen v. Louisiana, 103 U.S. 80, 84 (1880) (quoting Warren

v. Mayor of Charlestown, 68 Mass. (2 Gray) 84, 99 (1854)); see Minnesota v. Mille Lacs Band of

Chippewa Indians, 526 U.S. 172, 191 (1999); Jenner Br. 44–45.

       That is the case here. As this Court has recognized, Section 1 of the Order supplies the

basis for the substantive provisions that follow and is therefore critical to federal agencies’

implementation of each of the Order’s directives. In this Court’s own words, Section 1 “serve[s]

as the basis for the operative sections … and is thus critical to their enforcement.” Tr. 44:20–23.

Indeed, “without the basis” in Section 1, this Court observed, there would be “nothing to support”

the substantive provisions that follow. Tr. 19:25–20:4. The government, too, has conceded that

federal agencies implementing the Order’s substantive provisions would “necessarily” be guided

by the statements in Section 1, Tr. 20:6–10, which plainly give meaning to those provisions’

references to “national security,” e.g., Order § 5(a), and the “interests of … the United States,” id.




                                                 22
      Case 1:25-cv-00916-JDB            Document 94       Filed 04/17/25       Page 34 of 57




§ 3(b)(ii). The Order is a single, integrated document that must “stand or fall as a whole.” Mille

Lacs Band, 526 U.S. at 191.

        B.      In Any Case, the Government’s Section-Specific Arguments Lack Merit.

        Even if the Court were to analyze the Order section by section, Jenner would still be entitled

to full relief. Most of the government’s motion seeks to establish that the President has great

wellsprings of authority over the domains covered by particular sections. But the President’s

authority (whatever it may be) does not provide a free pass to violate constitutional rights. “The

President … does not,” after all, “‘stand exempt from the general provisions of the constitution.’”

Trump v. Vance, 591 U.S. 786, 795 (2020) (quoting United States v. Burr, 25 F. Cas. 30, 33–34

(C.C.D. Va. 1807) (No. 14,692d)). And even an “ordinarily permissible exercise of discretion may

become a constitutional deprivation if performed in retaliation for the exercise of a [F]irst

[A]mendment right.” Toolasprashad v. Bureau of Prisons, 286 F.3d 576, 585 (D.C. Cir. 2002)

(alterations in original) (citation omitted).

                1.      Jenner Is Entitled to Relief as to Section 1 Because It Underpins the
                        Government’s Unlawful Action.

        The plain purpose of Section 1 is to set forth the grievances that form the basis for the

specific sanctions that follow. The government has repeatedly admitted as much. Gov’t Br. 8; Tr.

18:5–12. The remainder of the Order directs federal agencies to impose a harsh set of consequences

on Jenner and its clients because Jenner has engaged in the (protected) activity described in Section

1, namely, taking litigation positions the government dislikes and affiliating with a disfavored

individual. See Order §§ 2–5. Section 1, accordingly, is unlawful whether viewed on its own or

(more accurately) as part of a wholly unconstitutional order. Its sole purpose is to set forth the

grievances masquerading as a basis for the government’s retaliation against Jenner. That retaliatory

basis is invalid, and this Court has the power—and obligation—to declare it so. Likewise, this



                                                 23
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 35 of 57




Court should enshrine in a permanent order that which the TRO already provides: The federal

government is prohibited from taking any action based on the retaliatory and viewpoint-

discriminatory motives described in Section 1. ECF No. 9.

       The government seeks to rescue Section 1 by arguing that Jenner “has no right to silence

the Government’s own opinions.” Gov’t Br. 13. That retort reflects a fundamental

misunderstanding both of Section 1 and of the relief Jenner seeks. Of course the President has a

right to express his views. But when the President (or any public official) purports to set

government policy unconstitutionally targeting specific private parties for sanction, he cannot

defend the policy simply because it is presidential speech. A government official cannot justify

taking actions that violate private parties’ constitutional rights on the ground that the official is

simply exercising his own freedom of speech.

       The government likewise misses the mark in its invocation of the Supreme Court’s

“government speech” line of cases. Gov’t Br. 13. Those cases stand for the common-sense

principle that the government is permitted to engage in expressive speech, even though by

expressing certain views, it of necessity must decline to adopt others. See Shurtleff v. City of

Boston, 596 U.S. 243, 251–52 (2022). That doctrine does not permit government retaliation or

hold that courts must preserve “expressive” portions of unconstitutional executive orders.

       The government also goes to great lengths to demonstrate the truth of Section 1’s assertions

about Jenner. Gov’t Br. 8–9. Jenner has indeed represented immigrants and transgender persons,

and Mr. Weissmann was indeed a partner at the Firm. But it is no answer to a charge of retaliation

and viewpoint discrimination to observe that the targeted party really did engage in the protected

First Amendment activity for which it is singled out.




                                                 24
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 36 of 57




               2.      Jenner Is Entitled to Relief as to Section 2 Because the Order’s Security
                       Clearance Provisions Are Reviewable and Unlawful.

       The government next argues that Jenner’s claims are unreviewable as to Section 2 of the

Order, which sets forth a Jenner-specific “Security Clearance Review,” and otherwise directs

agencies to “cease ... provision” to the Firm of “all Government goods, property, material, and

services.” Order § 2. As noted, the Court need not specifically address Section 2; it can hold that

regardless of whether Section 2 is reviewable and constitutional, it is inseverable from the portions

of the Order that are unquestionably unconstitutional.

       But if the Court does specifically address Section 2, it should allow Jenner’s claim to

proceed. Jenner’s motion for summary judgment sets forth in detail why there are no barriers to

judicial review of a security-clearance policy that—for constitutionally suspect reasons—subjects

a class of people to a bespoke suspension-and-review process. Jenner Br. 35–40. Nothing in the

government’s motion offers any basis to dispute that conclusion.

       The government’s primary contention is that Lee v. Garland, 120 F.4th 880, 893 (D.C. Cir.

2024), renders Jenner’s challenge unreviewable. Gov’t Br. 14. But Jenner’s challenge concerns

the highly irregular “manner in which” the Executive Branch has opted to reconsider the security

clearances that Jenner personnel hold, Nat’l Fed’n of Fed. Emps. v. Greenberg, 983 F.2d 286, 290

(D.C. Cir. 1993), as well as the permissibility of subjecting a whole group of individuals to that

irregular process as punishment for protected speech and association. These are justiciable

constitutional questions. See id.; see also Webster v. Doe, 486 U.S. 592, 603–04 (1988). Lee thus

does not control.

       To get around these cases, the government attempts to treat Jenner—a law firm of nearly

1,000 attorneys and staff, Compl. ¶ 6; SUMF ¶ 2—as if it were an individual. Thus, because

“Jenner & Block publicly praised Weissmann’s role in the Mueller investigation,” the government


                                                 25
      Case 1:25-cv-00916-JDB            Document 94        Filed 04/17/25       Page 37 of 57




asserts, the President was entitled “to question Jenner & Block’s judgment.” Gov’t Br. 15

(emphasis added). But Jenner is not an individual that holds a security clearance. Rather, some of

Jenner’s people do. And the government offers no support for its claim of unreviewable discretion

to subject a whole class of people to more onerous clearance procedures than those applicable to

the general public for retaliatory reasons. That is because none exists: To the extent the President

has unreviewable authority, it extends only to “the merits of [a] ‘particular employee’s security

clearance,’” Lee, 120 F.4th at 893 (emphasis added) (quoting Greenberg, 983 F.2d at 290). That

is not what Jenner seeks to challenge here, and reaching the merits of Jenner’s claim would not

require this Court to probe or second-guess discretionary Executive Branch judgments about what

national security requires. 12

        Indeed, the legal question presented by Section 2 is “categorically unlike” the

unreviewable, individualized “predictive judgment[s]” that underlie normal clearance

adjudications. Rattigan v. Holder, 689 F.3d 764, 767 (D.C. Cir. 2012) (citation omitted). Under

established Executive Branch practice, “[e]ach case must be judged on its own merits,” based on

“a careful weighing of a number of variables of an individual’s life.” Off. of the Dir. of Nat’l Intel.,

Security Executive Agent Directive 4: National Security Adjudicative Guidelines 6 (June 8, 2017).

Those variables include such “intangible qualities” as a person’s “loyalty to the United States,

strength of character, trustworthiness, honesty, reliability, discretion, and sound judgment.” Lee,

120 F.4th at 893 (citation omitted). To determine the constitutionality of Section 2, the Court need

not find facts about, or sit in judgment of, any such discretionary assessments. It need only evaluate


12 The President’s creation of a unique clearance procedure just for disfavored law firms further
flies in the face of Congress’s directive that the Executive “develop[] and implement[] uniform
and consistent policies and procedures” for clearance adjudications. 50 U.S.C. § 3341(b)(2)
(emphasis added); see also Lee, 120 F.4th at 891 (recognizing that Congress may “restrict
executive discretion in this area”).


                                                  26
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25       Page 38 of 57




whether the government may create a separate set of clearance procedures for a disfavored group,

in express retaliation for that group’s protected First Amendment activity.

       Here, too, the government’s brief makes this Court’s job easier by doubling down on the

President’s retaliatory motives. The government openly admits that Section 2’s sanction on all

current Jenner personnel was put in place not because of any bona fide national-security concerns

about them but because, five years ago, the Firm “publicly praised” its former partner’s role in a

Department of Justice investigation. Gov’t Br. 15. This echoes the President’s own explanation for

the Order, which includes that “Jenner was ‘thrilled’ to re-hire the unethical Andrew Weissmann”

notwithstanding his alleged “overt demand that the Federal Government pursue a political agenda”

against the President. Order § 1; see Compl. ¶ 102 (The President: “Andrew Weissmann is the

main culprit.”); SUMF ¶ 57. This is textbook retaliation for textbook political speech and

association. As Jenner has explained, this Court can apply settled doctrine to evaluate the

lawfulness of such retaliation, without probing “sensitive and inherently discretionary judgment

calls” as to “a particular employee[’s]” entitlement to a clearance, or making “nuanced judgments”

about what “motivat[ed]” the President. Lee, 120 F.4th at 893 (quoting Dep’t of the Navy v. Egan,

484 U.S. 518, 527 (1988)); see Jenner Br. 37. The national-security context does not render

“unreviewable” an action that, like this one, is based on an explicit “polic[y] normally repugnant

to the Constitution.” Webster, 486 U.S. at 603.

       Were there any doubt that the Order is not rooted in any bona fide national security

rationale, the President’s own treatment of the similar Paul Weiss order confirms as much. Despite

the similarly vague invocation of “national security” in the initial order targeting Paul Weiss, Ex.

10, the President quickly revoked that order in full on the basis of a “settlement” in which Paul

Weiss agreed to a suite of “policy changes” that have no conceivable bearing on national security,



                                                  27
      Case 1:25-cv-00916-JDB           Document 94       Filed 04/17/25      Page 39 of 57




Ex. 15. Once the firm agreed to “a policy of political neutrality” and to provide $40 million in pro

bono legal services to the President’s preferred causes, any purported national-security concern

vanished. Ex. 15.

       On the merits, the government has offered essentially no argument in defense of Section 2.

Even in areas where government officials enjoy “considerable discretion,” they must exercise their

powers “in a manner that comports with the transcendent imperatives of the First Amendment.”

Edwards v. Aguillard, 482 U.S. 578, 583 (1987) (citation omitted). And, even under the most

deferential review, the Order’s creation of a separate clearance-review process in explicit and

categorical retaliation for protected activity cannot possibly pass muster. See Jenner Br. 39–40.

Moreover, adopting the government’s position would give the President unprecedented power to

transform his authority over national security into a tool for putting all national-security

information into the hands of one political party, one race, one gender, or one religion.

       The government’s only merits defense as to Section 2 concerns Jenner’s due-process

claims. The government asserts that because “any individual employee of Plaintiff with a security

clearance will receive appropriate process,” there can be no due-process violation (and also that

the claims are unripe). Gov’t Br. 16. But the government once again misunderstands the nature of

Jenner’s challenge. Jenner does not ask the Court to evaluate any one person’s ability to hold a

security clearance, or any one person’s entitlement to related procedural protections. Jenner

challenges the imposition of a clearance suspension-and-review regime on the entire Firm, without

providing the Firm any notice or opportunity to contest the government’s claims. As for ripeness,

that regime has already been imposed, and the Order already directs “immediate[]” steps to

suspend clearances, making it plain that Jenner can obtain relief now. Order § 2(a); see Thomas v.




                                                28
      Case 1:25-cv-00916-JDB            Document 94        Filed 04/17/25      Page 40 of 57




Union Carbide Agr. Prods. Co., 473 U.S. 568, 581 (1985) (finding ripe an issue that was “purely

legal, and [would] not be clarified by further factual development”).

               3.      Jenner Is Entitled to Relief as to Section 3 Because the President’s
                       Authority Over Procurement Does Not Justify the Order’s Contracting
                       Provisions.

       With respect to Section 3, the government raises a threshold standing argument and then

suggests that the government’s authority over procurement justifies the Order’s contracting terms.

Neither argument succeeds.

       Jenner has standing to challenge Section 3 of the Order, which aims to deprive the Firm of

clients responsible for 40% of its revenue. See Compl. ¶ 129; SUMF ¶ 83. The Order does so by

requiring all government contractors to “disclose any business they do with Jenner,” Order § 3(a),

promising termination of “any contract … for which Jenner has been hired to perform any service,”

id. § 3(b)(i), demanding that agencies undertake an “assessment” of any other contracts held by

“entities that do business with Jenner”—regardless of whether that business relates to that contract,

§ 3(b)(ii); and then directing agencies to “align their … funding decisions” with the President’s

stated policies, id. The President’s explicit goal is to “terminate contracts that involve Jenner,” Ex.

20, and to threaten all contractors that do any sort of business with Jenner, see Tr. 45:4–6, 51:21–

52:11. Unsurprisingly, then, prior to the issuance of the TRO, the Order caused government-

contractor clients to question whether they should continue to engage Jenner. Compl. ¶¶ 130, 133;

see SUMF ¶¶ 74, 88.

       The government says Jenner lacks standing to challenge Section 3 because any clients’

decision to withdraw work from the Firm would not be traceable to the Order. In the government’s

telling, Jenner has not itself been hired to perform any government contract, and “Section 3 only

‘terminate[s] any contract … for which Jenner has been hired to perform any service.’” Gov’t Br.

19 (quoting Order § 3(b)(i)) (emphasis added). But that is not the “only” thing Section 3 does. The

                                                  29
      Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25      Page 41 of 57




government ignores Section 3’s onerous disclosure requirements (which may compel Firm clients

to produce sensitive, nonpublic information, see SUMF ¶¶ 86–87), Order § 3(a), as well as its

vague directives that agencies must “review” and “assess[]” “contracts … with entities that

disclose doing business with Jenner” (even business unrelated to the contract), id. § 3(b). The

President’s evident aim is not merely to terminate Jenner’s own contracts but more broadly to deter

current and prospective government contractors from retaining Jenner. See Ex. 20 (Section 3 will

“ensure taxpayer dollars no longer go to contractors whose earnings subsidize activities not aligned

with American interests.”).

       The government cannot defeat standing by denying that the Order will have the effect it is

so clearly intended to have. To establish traceability, Jenner need only show that its clients will

“likely react in predictable ways” to Section 3, in turn harming the Firm. See Dep’t of Com. v. New

York, 588 U.S. 752, 768 (2019); Bennett v. Spear, 520 U.S. 154, 168–69 (1997) (an injury that is

“fairly traceable” to the defendant does not require that “the defendant’s actions are the very last

step in the chain of causation”). And here, it is more than just predictable that Section 3 would

cause Jenner’s contractor clients to question engaging the Firm; as this Court recognized, Jenner’s

clients have raised “concerns about government mandated disclosure of their relationship with

Jenner”; if those concerns caused a loss of “even a portion” of the Firm’s federal-contractor

business, it would “amount[] to a serious threat to the [F]irm’s financial health.” Tr. 51:21–52:11.

Jenner thus has standing to challenge Section 3.

       On the merits, the government advances various contractor-specific arguments seeking to

establish that Section 3’s constitutional violations are cured simply because they arise in the

contracting context. Those arguments do not hold water. The simple fact is that Section 3

unconstitutionally leverages the government’s enormous procurement apparatus to prevent



                                                30
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 42 of 57




contractors from doing business with Jenner—all because Jenner has said the wrong things, hired

the wrong people, and advocated for the wrong causes (according to the government). And the law

is clear that the “basis of a [contracting] decision cannot be retaliation in violation of the First

Amendment.” Ervin & Assocs. v. Dunlap, 33 F. Supp. 2d 1, 7 (D.D.C. 1997).

       The government argues that Section 3 is constitutional because “when implementing

Section 3 the Government is acting as a private party, not as a sovereign.” Gov’t Br. 17. But the

government-contracting context does not provide a blank check to ignore the First Amendment.

To the contrary, the Supreme Court has made clear that “the termination of [a government]

contract” may not be “motivated by [the contractor’s] speech.” Umbehr, 518 U.S. at 685. Only

under a limited set of circumstances will the government’s “legitimate interests as contractor …

outweigh the free speech interests at stake,” id., such as where the contractor’s speech disrupts the

workplace or undermines “the efficiency of the public services” being offered, id. at 676; Am.

Fed’n of Gov’t Emps. v. District of Columbia, 2005 WL 1017877, at *7 (D.D.C. May 2, 2005).

And the government’s interest in regulating contractors’ speech is at its “lowest ebb” where, as

here, the disfavored speech has nothing to do with the subject matter of the contract. Navab-Safavi

v. Broad. Bd. of Governors, 650 F. Supp. 2d 40, 57 (D.D.C. 2009) (quoting United States v. Nat’l

Treasury Emps. Union, 513 U.S. 454, 494 (1995) (Rehnquist, C.J., dissenting)), aff’d, 637 F.3d

311 (D.C. Cir. 2010). These cases make plain that the government—even when acting as “private

party”—may not terminate contracts in retaliation for a contractor’s wholly unrelated speech. And,

of course, here the speech at issue is primarily that of the contractor’s outside lawyers, not the

contractors themselves.

       Nor can the government rely on its “racial discrimination” rationale as a blank check to

abuse its procurement power. Gov’t Br. 20–21. As an initial matter, it is undeniable that Section 3



                                                 31
      Case 1:25-cv-00916-JDB            Document 94         Filed 04/17/25       Page 43 of 57




is not solely about purported racial discrimination; the section’s text references Jenner’s broader

suite of “activities that are not aligned with American interests,” Order § 3(a)—a direct reference

to Jenner’s disfavored litigation activities and disfavored associations, which are described in

Section 1 of the Order as activities undermining “the interests of the United States,” id. § 1.

        Moreover, the government is simply mistaken in its assertion that if even one of its

motivations for terminating contracts would be valid, Section 3 should stand. The government

cites McGowan v. Maryland, 366 U.S. 420 (1961), for the proposition that a discriminatory law is

valid “if any state of facts reasonably may be conceived to justify it.” Gov’t Br. 17 (quoting

McGowan, 366 U.S. at 426). But that portion of McGowan applied rational-basis review to the

claim that the state law discriminated between alcohol sales (prohibited on Sunday) and gambling

(not prohibited)—it did not address retaliation for protected speech or anything remotely similar. 13

In the retaliation context, the relevant question is instead whether the official’s retaliatory motive

caused him to take the action in question. Nieves, 587 U.S. at 399; see also Toolasprashad, 286

F.3d at 585 (even an “ordinarily permissible exercise of discretion may become a constitutional

deprivation if performed in retaliation for the exercise of” a First Amendment right (citation

omitted)). And as explained, the government cannot credibly maintain that the President would

have issued Section 3 “regardless of [Jenner’s] speech,” Umbehr, 518 U.S. at 685.

        But even accepting the government’s (incorrect) premise that its goal is simply to address

unlawful discrimination, that would not save Section 3. The government cannot simply declare


13 A different portion of McGowan, intermittently relied upon by the government in related
litigation, held that the historical religious bases for the state law at issue did not doom it under the
Establishment Clause because the law was facially neutral and had evolved to have a secular
justification. See 366 U.S. at 429–53. The government has also invoked United States v. O’Brien,
391 U.S. 367 (1968), which likewise declined to invalidate a facially neutral statute “on the basis
of an alleged illicit legislative motive.” Id. at 383. None of this has any application to the Order,
which is retaliatory and discriminatory on its face.


                                                   32
      Case 1:25-cv-00916-JDB             Document 94        Filed 04/17/25    Page 44 of 57




that Jenner discriminates and impose punishment. Instead, “when the Government effectively bars

a contractor from virtually all Government work …, due process requires that the contractor be

given notice of those charges as soon as possible and some opportunity to respond to the charges

before adverse action is taken.” Old Dominion Dairy Prods., Inc. v. Sec’y of Def., 631 F.2d 953,

955–56 (D.C. Cir. 1980). No such notice or opportunity was provided here.

        Further, Section 3 is still ultra vires. Congress has curtailed the President’s discretion to

do what he purports to do here. The President’s authority to issue directives governing contracting

stems from the Federal Property and Administrative Services Act of 1949 (“FPASA”). FPASA

permits the President to “prescribe policies and directives,” 40 U.S.C. §§ 121(a), to create an

“economical and efficient system” for procurement and supply, id. § 101. As the statutory text

makes clear, FPASA does not authorize targeted, post-procurement actions against individual

contractors that have nothing to do with the government’s broader “system” or “method of

contracting” for services. Kentucky v. Biden, 23 F.4th 585, 604 (6th Cir. 2022). And it does not

authorize policies that lack a “sufficiently close nexus” to the “values of efficiency and economy.”

AFL-CIO v. Kahn, 618 F.2d 784, 792–93 (D.C. Cir. 1979) (en banc); see also Chamber of Com.

of the U.S. v. Reich, 74 F.3d 1322, 1330 (D.C. Cir. 1996) (cautioning that FPASA does not “write

a blank check for the President to fill in at his will”).

        The government relies on Contractors Ass’n of Eastern Pennsylvania v. Secretary of

Labor, 442 F.2d 159 (3d Cir. 1971), for the proposition that the President may wield his control

over government contracting to combat racial discrimination. Gov’t Br. 17. But that case in no

way supports Section 3, for at least two reasons. First, consistent with FPASA’s focus on

facilitating an “efficient system” for procurement, 40 U.S.C. § 101 (emphasis added), the order at

issue in that case required “all applicants for federal assistance to include in their construction



                                                   33
       Case 1:25-cv-00916-JDB            Document 94       Filed 04/17/25      Page 45 of 57




contracts specific provisions respecting fair employment practices.” Contractors Ass’n, 442 F.2d

at 163. That the President can establish generalized, forward-looking requirements in contracting

does not give him license to dole out one-off, contracting-related punishments to disfavored firms.

Second, consistent with FPASA’s focus on “econom[y] and efficien[cy],” 40 U.S.C. § 101, the

executive order at issue in Contractors Ass’n sought narrowly to prevent the “exclusion from the

available labor pool of minority tradesmen,” so as to advance the government’s “financial and

completion interests” in federal construction projects. 442 F.2d at 171, 175. No such nexus exists

here. 14

                  4.      Jenner Is Entitled to Relief as to Section 4’s Direction to Investigate
                          Jenner.

           The government’s arguments for dismissal as to Section 4 likewise fail. Section 4 provides

that “[n]othing in this order shall be construed to limit the action authorized by section 4 of” the

executive order targeting Perkins Coie. Order § 4. That provision, in turn, directs the EEOC to

“review the practices of representative large, influential, or industry leading law firms for

consistency with Title VII of the Civil Rights Act of 1964.” Ex. 6 § 4(a). And it further directs the

Attorney General to “investigate the practices of large law firms as described in [Section 4(a)] who

do business with Federal entities for compliance with race-based and sex-based non-discrimination

laws and take any additional actions the Attorney General deems appropriate.” Id. § 4(b).

           Like the other substantive provisions of the Order, Section 4 must be invalidated because

it is one component of the Order’s comprehensive effort to bring various levers of governmental

authority—here, the investigative authority of the EEOC and the Department of Justice—to bear



14 Nor does the government’s “wide latitude to ‘terminate performance of work’” authorize
Section 3. Gov’t Br. 25 (citing 48 C.F.R. § 52.249-2(a)). That regulation derives from FPASA,
and thus cannot confer authority beyond that conferred by the statute. See Util. Air Regul. Grp. v.
EPA, 573 U.S. 302, 333–34 (2014).


                                                   34
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 46 of 57




on Jenner. Subjecting Jenner to a Title VII investigation as retaliation for protected speech and

associations violates the First Amendment. The government may not subject entities to

investigation simply because they have engaged in speech or associations adverse to the

government. See, e.g., Media Matters for Am. v. Paxton, 732 F. Supp. 3d 1, 8, 27–29 (D.D.C.

2024), appeal docketed, No. 24-7059 (D.C. Cir. Apr. 23, 2024); Sanders v. District of Columbia,

85 F. Supp. 3d 523, 535–37 (D.D.C. 2015). Similarly, the Order violates Jenner’s due-process

rights by directing an investigation into Jenner without adhering to established Title VII procedures

for the initiation of such investigations. See Jenner Br. 30 n.16. Any investigation that occurs

pursuant to an Order that has already dictated the outcome is no more than a transparent sham. Cf.

Joint Anti-Fascist Refugee Comm. v. McGrath, 341 U.S. 123, 161 (1951) (Frankfurter, J.,

concurring).

       The government primarily argues that Section 4 must be lawful because it “does nothing

at all.” Gov’t Br. 2; see id. at 25. But the only sensible way to read Section 4 is as a command that

Jenner is to be one of the “large law firms,” Ex. 6 § 4(a), within the EEOC’s and Attorney

General’s sights. And the President presumably did not go to the trouble of including Section 4 if

it was meant to “do[] nothing at all.” Gov’t Br. 2. Further, the Fact Sheet declares that Jenner’s

“practices … will be reviewed under Title VII.” Ex. 20 (emphasis added). 15

       Next, the government argues that Jenner cannot identify an injury traceable to the Order

because the Order, by directing the EEOC and the Attorney General to investigate Jenner’s

compliance with civil-rights laws, simply orders them “to do what it was already the[ir] … job to




15 Along similar lines, the government argues that Jenner is “challenging the wrong order,”
apparently because the particulars of the sham Title VII investigation are set forth in the Perkins
Coie order. Gov’t Br. 3; see id. at 25. But the Order is a proper subject of challenge because it is
the government action specifically providing that Jenner must be investigated.


                                                 35
      Case 1:25-cv-00916-JDB            Document 94        Filed 04/17/25      Page 47 of 57




do.” Gov’t Br. 3. But Jenner is not arguing for immunity from investigation. See id. at 28. Rather,

Jenner objects to being targeted for investigation and review based on its protected First

Amendment activity. Jenner’s motion for summary judgment was accompanied by a proposed

order that seeks relief perfectly tailored to that concern: It would direct the EEOC and the Attorney

General to “immediately cease any investigation of Jenner & Block LLP made pursuant to Section

4 of [the Order], and to withdraw any requests for information from Jenner & Block LLP or other

investigative steps made pursuant to Section 4 of [the Order].” ECF No. 19-31, at 3–4 (“Proposed

Order”) (emphasis added).

                5.     Jenner Is Entitled to Relief as to Section 5 Because Jenner’s Challenge
                       Is Ripe Regardless of Whether Any Guidance Is Issued.

        Section 5 of the Order provides that agency heads shall “provide guidance limiting official

access from Federal Government buildings to employees of Jenner when such access would

threaten the national security of or otherwise be inconsistent with the interests of the United

States.” Order § 5(a). It also directs “guidance limiting Government employees acting in their

official capacity from engaging with Jenner employees.” Id. And it provides that agencies shall

“refrain from hiring employees of Jenner” unless the agency head, in consultation with the Director

of the Office of Personnel Management, provides a waiver stating that “such hire will not threaten

the national security of the United States.” Id. § 5(b). Section 5’s restrictions on Jenner personnel’s

access to federal buildings, engagement with federal employees, and eligibility for federal

employment are, by their terms, sweeping and severe—and they immediately harmed Jenner when

they went into effect. Recognizing these facts, this Court granted a TRO barring enforcement of

these restrictions.




                                                  36
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25       Page 48 of 57




       Nonetheless, the government seeks dismissal of Jenner’s claims as to Section 5 on the

grounds that any challenge to Section 5 is unripe until agencies issue the referenced “guidance.”

This contention is meritless for three reasons. See Jenner Br. 34–35.

       To start, the government makes no serious effort to grapple with the two-prong test for

ripeness, which considers (a) whether the issues are purely legal and thus fit for immediate

resolution; and (b) “the hardship to the parties of withholding court consideration.” Teva Pharms.

USA, Inc. v. Sebelius, 595 F.3d 1303, 1308 (D.C. Cir. 2010) (quoting Nat’l Park Hospitality Ass’n

v. Dep’t of the Interior, 538 U.S. 803, 808 (2003)). Both prongs support immediate review here.

First, the Order mandates not only that agencies “shall” provide guidance, but also that the

guidance must “limit[] official access” and “engage[ment].” Order § 5(a) (emphasis added). Even

without every last detail filled in, no “further factual development” is needed to answer the “purely

legal” question before this Court: whether the government may impose access, engagement, and

employment restrictions on Jenner in retaliation for the Firm’s protected activity, without any

process whatsoever, and with disregard for the rights of Jenner’s clients. Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 167 (2014) (citation omitted). Nor is there any question as to Jenner’s

hardship were judicial review to be postponed—this Court has already found that Section 5 of the

Order, if not restrained, would cause “irreparable harm” to Jenner. Tr. 52:12–53:9.

       In any event, the text of Section 5 itself refutes any ripeness concerns. It is undisputed that

Jenner’s challenge to the hiring provision in Section 5(b) is ripe because that provision makes no

reference to guidance and immediately obligates agencies to “refrain from hiring employees of

Jenner,” absent waiver. Order § 5(b); see Tr. 32:6–10 (concession from government that the Order

directly imposes limitations on hiring). And even with respect to the access and engagement

provisions in Section 5(a), the text makes clear that Jenner’s claim is ripe. Section 5(a) immediately



                                                 37
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 49 of 57




commences a process under which Jenner is being treated in discriminatory fashion: Jenner is

subject to an unlawful process in which each agency will determine the particular metes and

bounds of its unconstitutional discrimination against Jenner, whereas others are not subject to that

same process. Because Jenner is immediately subject to that differential treatment, it is entitled to

immediate relief, regardless of how the process turns out. 16 And the government’s claim that

Jenner has not provided “concrete examples of harm,” Gov’t Br. 29, is simply wrong: The

complaint alleges that, in the brief period before the Order was restrained, the Department of

Justice instructed a client not to bring Jenner lawyers to an upcoming meeting. Compl. ¶ 124; see

SUMF ¶ 76.

       Nor can the references to caveating phrases like the “interests of the United States” delay

immediate judicial review—especially in light of how the President has construed those terms in

Section 1 of the Order. As the Court noted during the TRO hearing: “Given what is said in Section

1 with respect to Jenner & Block and its employees, what situation would you present where

agency heads would not find access to be inconsistent with the interests of the United States? I

mean, how would agency heads, given the Executive Order, possibly say okay to a Jenner & Block

employee having access to a federal building? It seems to basically say never.” Tr. 25:10–16.

       Further, the government’s ripeness concern is particularly misguided as to Jenner’s First

Amendment claims. In the First Amendment context, where just the “credible threat” of

government action may chill the exercise of constitutional freedoms, parties are not required to

wait until they are subject to government sanction before challenging unlawful activity. Unity08


16 Not that it is any great mystery how the process will turn out: As a White House official
remarked at the signing of the Susman Godfrey order, “Similar to what we’ve done previously
with other law firms, this is an executive order that … ensure[s] that they can’t access government
resources [or] government buildings.” Remarks: Donald Trump Signs Executive Orders in the
Oval Office - April 9, 2025, Roll Call, https://perma.cc/A3RY-STZT.


                                                 38
       Case 1:25-cv-00916-JDB          Document 94        Filed 04/17/25      Page 50 of 57




v. FEC, 596 F.3d 861, 865 (D.C. Cir. 2010) (quoting Chamber of Com. of the U.S. v. FEC, 69 F.3d

600, 603 (D.C. Cir. 1995)). And given the Order’s palpable animus against Jenner, there is no

reason to think that any of the Order’s sanctions “will not be enforced” at some point. Virginia v.

Am. Booksellers Ass’n, 484 U.S. 383, 393 (1988). So even if the Order did no more than promise

future retribution against Jenner, review would be available and warranted now, because it is

already chilling the speech and advocacy of Jenner and its clients.

       Indeed, the Order’s references to “guidance” and use of vague phrases like “[]consistent

with the interests of the United States” only heighten the need for judicial review. Order § 5. The

obvious intent of the Order is to raise doubts as to Jenner employees’ ability to access federal

buildings, engage with federal officials, and secure federal employment. That uncertainty is the

point of the Order, because it casts a pall on Jenner’s ability to effectively represent its clients.

Thus, the fact that Jenner “can only guess the degree to which agency heads will limit government

access,” Gov’t Br. 29, is part of the First Amendment problem here, not a reason why Jenner’s

claim is unripe. For example, to this day, the government has not provided any assurance that the

ban on access to federal buildings does not apply to federal courthouses. Cf. Tr. 28:13–31:9. This

Court’s permanent intervention is immediately required to make clear that Jenner shall have access

to federal buildings, employees, and employment on the same terms as the general public.

III.   THE UNITED STATES IS A PROPER DEFENDANT AND JENNER IS ENTITLED
       TO RELIEF AGAINST ALL FEDERAL AGENCIES.

       Finally, the government objects to the complaint’s naming of the United States as a

defendant in this action. Gov’t Br. 32–35. The government theorizes that the United States is an

improper defendant, that it is named to achieve improper relief against the President himself, and

that Jenner lacks standing to seek relief against federal agencies not specifically named in the

complaint. Id. The government is wrong across the board.


                                                 39
      Case 1:25-cv-00916-JDB            Document 94        Filed 04/17/25         Page 51 of 57




       A.      Jenner May Assert Its Claims Against Each Federal Agency by Naming the
               United States as a Defendant.

       Jenner’s complaint appropriately names the United States as a defendant. Compl. ¶ 79.

Contrary to the government’s claim, see Gov’t Br. 32–33, this practice is explicitly authorized by

the Administrative Procedure Act (“APA”). See 5 U.S.C. §§ 702–703. Under Section 702, “[t]he

United States may be named as a defendant” in a case (a) brought in federal court; (b) seeking

nonmonetary relief; and (c) challenging agency activity. 5 U.S.C. § 702. In other words, Section

702 explicitly waives the United States’ sovereign immunity in any suit satisfying these criteria.

See Perry Cap. LLC v. Mnuchin, 864 F.3d 591, 620 (D.C. Cir. 2017) (“We have ‘repeatedly’ and

‘expressly’ held in the broadest terms that ‘[Section 702’s] waiver of sovereign immunity applies

to any suit whether under the APA or not.’” (quoting Trudeau v. FTC, 456 F.3d 178, 186 (D.C.

Cir. 2006))). And under Section 702, such a case “shall not be dismissed nor relief therein be

denied on the ground that it is against the United States.” 5 U.S.C. § 702. Section 703 likewise

provides that an “action for judicial review may be brought against the United States, the agency

by its official title, or the appropriate officer.” Id. § 703 (emphasis added).

       This suit plainly meets the Section 702 criteria: Jenner sued in federal court, seeks

declaratory and injunctive relief only, and challenges agency conduct—in particular, Executive

Branch agencies’ implementation of the Order. See Compl. pp. 63–64 (Prayer for Relief); SUMF

¶ 96. It thus follows straightforwardly that Jenner’s suit “shall not be dismissed” and that “no[]

relief” sought by Jenner “be denied” just because Jenner has named the United States rather than

each agency subject to the Order. 5 U.S.C. § 702. Indeed, the statute explicitly permits “a judgment

or decree [to] be entered against the United States,” so long as any injunctive order itself

“specif[ies] the Federal officer or officers (by name or by title), and their successors in office,

personally responsible for compliance.” Id. As discussed below, Jenner’s proposed order includes


                                                  40
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25       Page 52 of 57




precisely those specifications.

       Attacking this straightforward analysis, the government first invokes the principle that

“suits alleging unconstitutional action by the Government must be brought ‘against officials,’ not

against” the “‘State[]’ writ large.’” Gov’t Br. 32 (alteration in original) (quoting P.R. Aqueduct &

Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993)). By eliding the word “States” to

“State[],” in this quotation, the government seeks to bring principles governing state sovereign

immunity into the far different context here. States have not waived their sovereign immunity;

accordingly, under the Ex parte Young doctrine, see 209 U.S. 123, 149–56 (1908), prospective

relief may be sought only against state officials but not against state agencies or States themselves.

But no such principle governs in the context of suits against the federal government because the

federal government has waived its sovereign immunity with respect to suits, like this one, seeking

prospective relief. 5 U.S.C. § 702; see Perry Cap., 864 F.3d at 620. 17

       Misreading Section 702, the government also argues that sovereign immunity bars relief

with respect to any agencies or officials not named in the complaint. Gov’t Br. 32–33. That too is

mistaken. Section 702 provides that when the United States is sued, an injunctive order (not the

complaint) must “specify the Federal officer or officers … personally responsible for compliance.”

5 U.S.C. § 702. To facilitate compliance with Section 702, Jenner’s proposed order enumerates

the federal officials (and their successors) who would be bound by a judgment against the United

States. Proposed Order 7–14 (Appendix A).

       Finally, the government suggests that “[n]o cause of action exists against” the United


17 The government cites Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320 (2015), for
the false proposition that all principles governing suits against state officials also apply in suits
against the federal government. Gov’t Br. 32. The piece of Armstrong the government cites merely
notes that federal courts have power to grant injunctions against both state and federal officials.
See 575 U.S. at 326–27.


                                                 41
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 53 of 57




States, requiring its dismissal. Gov’t Br. 33. That is wrong. Jenner has a cause of action in equity

to challenge unconstitutional conduct by federal agencies. See Armstrong, 575 U.S. at 326–27;

Trudeau, 456 F.3d at 186. And under Section 702, an action against agencies “shall not be

dismissed nor relief therein be denied on the ground that it is against the United States” and “[t]he

United States may be named as a defendant in any such action.” 5 U.S.C. § 702 (emphases added);

see also id. § 703 (“[T]he action for judicial review may be brought against the United States … .”)

(emphasis added).

       B.      The Government’s Invocation of the President’s Immunity Is a Red Herring
               Because No Relief Is Sought Against the President.

       Next, the government asserts that Jenner has “improperly use[d] naming the United States

as defendant” as a ploy “to dodge the … prohibition against courts enjoining the President.” Gov’t

Br. 33; see id. at 33–34. There is no dodge: Jenner is not seeking an injunction (or any relief)

against the President. See Compl. pp. 63–64 (Prayer for Relief); Proposed Order 1–5. A judgment

for Jenner in this case would not require the President to do or not do anything; it simply would

prohibit federal agencies from implementing the President’s unlawful executive order. The

government’s lengthy discourse about the impropriety of relief against the President, Gov’t Br.

34–35, is wholly irrelevant.

       The government argues that because the President holds the executive power under Article

II, any relief Jenner seeks from entities within the Executive Branch is actually relief from the

President, which is impermissible. Gov’t Br. 33–35. This argument refutes itself: By its logic, no

relief from any federal agency would ever be available. And to be clear, Jenner has not sued the

United States as a euphemism for “the President,” nor does Jenner’s requested relief include

“enjoin[ing] the President in his plainly discretionary functions.” Id. at 34. Instead, Jenner has

followed the path explicitly authorized by 5 U.S.C. §§ 702 and 703: In lieu of naming each and


                                                 42
      Case 1:25-cv-00916-JDB           Document 94         Filed 04/17/25      Page 54 of 57




every federal agency engaged in unlawful conduct as a defendant, it has sued the United States.

       C.      Jenner Has Standing to Seek Relief as to Every Agency in the Executive
               Branch Subject to the Order.

       The government also argues that Jenner’s naming of the United States proves that it is

unable to demonstrate Article III standing to obtain relief from unnamed agencies. Gov’t Br. 35.

This is incorrect. As explained, it is permissible to name the United States as a defendant in lieu

of an agency from which relief is sought. See 5 U.S.C. §§ 702–703. The government is also wrong

as to Article III. Jenner has standing to seek declaratory and injunctive relief from every federal

agency subject to the Order. This is so for two reasons.

       First, each federal agency’s implementation of the Order causes Jenner a cognizable injury.

Any agency that adopts a policy calling for the termination of all contracts associated in any way

with Jenner, excluding Jenner personnel from agency facilities, prohibiting agency employees

from speaking to Jenner attorneys, and barring Jenner staff from government employment causes

significant harm to Jenner’s reputation—and thus its business. See Jenner Br. 10–13, 41–43. Even

if Jenner is “not and never will be interested” in practicing before a particular agency or sending

alumni to work there, “the fact that the [agency’s policy] specifically prohibits [Jenner] and its

affiliates from being eligible” to practice before, or even speak to, the agency “affects [Jenner’s]

reputation with other agencies” and private parties. ACORN v. United States, 618 F.3d 125, 134

(2d Cir. 2010); see id. at 133–35 (holding that plaintiff had standing on this theory).

       Indeed, the D.C. Circuit has held that when a statute is targeted at a specific party and labels

it a wrongdoer, that party has standing to bring a challenge without needing to show any additional

injury. See Foretich v. United States, 351 F.3d 1198, 1212–15 (D.C. Cir. 2003). As the D.C. Circuit

has explained, “[c]ase law is clear that where reputational injury derives directly from an unexpired

and unretracted government action, that injury satisfies the requirements of Article III standing to


                                                 43
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 55 of 57




challenge that action.” Id. So too here—unless and until the Order is rescinded, every agency’s

implementation of the Order causes Jenner a cognizable reputational injury, so Jenner is entitled

to relief against them all.

        Second, Jenner can seek relief from every agency because the Order directs them to act

together to implement a similar set of sanctions aimed at making it impossible for Jenner to practice

law. When multiple defendants act in concert to inflict injury, a plaintiff has standing to obtain

relief from all of them. See Matsumoto v. Labrador, 122 F.4th 787, 801–02 (9th Cir. 2024)

(“Where a … statute specifically grants enforcement powers to multiple government authorities,”

a plaintiff can obtain “an injunction against the exercise of those powers by any one of those

authorities”); see also Massachusetts v. EPA, 549 U.S. 497, 523–26 (2007) (plaintiffs had standing

to sue agency even though agency’s conduct was not alone responsible for plaintiffs’ injuries);

Ctr. for Biological Diversity v. U.S. EPA, 937 F.3d 533, 544–45 (5th Cir. 2019) (a plaintiff has

standing to sue over “incremental” activity that makes its “injury worse—even just a little

worse”). 18

        D.      The Court Should Enter the Detailed Proposed Order to Ensure the
                Government’s Compliance.

        Finally, Jenner emphasizes that, to ensure the government’s compliance, it is critical for

this Court to enter a detailed remedial order. The government’s record of compliance with the TRO

has not inspired confidence. For example, at the time Jenner filed its motion for summary

judgment, the government still had not complied with its obligation under the TRO that non-




18 Jenner’s proposed order lists a large number of agencies that Jenner understands to be subject
to the Order, as well as the responsible official (and successor) at each agency. Proposed Order 7–
14 (Appendix A); see 5 U.S.C. § 702. Jenner has also requested from government counsel a
complete list of such agencies. In the event it comes to light that unlisted agencies are subject to
the Order, Jenner will, with permission of the Court, submit a revised proposed order.


                                                 44
      Case 1:25-cv-00916-JDB           Document 94        Filed 04/17/25      Page 56 of 57




defendant agencies receive notice from the Attorney General and the Director of the Office of

Management and Budget. Jenner Br. 14 n.15; see also ECF No. 12 (citing “logistical issues”).

Then, when the required notice was finally sent, it all but directed the non-defendant agencies to

ignore this Court’s TRO, referring to “local district judge[s]” who have “yet again invaded the

policy-making and free speech prerogatives of the executive branch”; asserting that “agencies are

permitted to carry on their ordinary course of business which carries with it the authority to decide

with whom to work”; and declaring that the Order “was necessary policy” because Jenner is

“committed to ... anti-American pursuits.” ECF No. 21-1.

       Perhaps unsurprisingly, public reporting has also revealed that some agencies were still not

complying with the TRO more than a week after it issued, with more than one agency seeking

disclosures from government contractors regarding their relationships with Jenner and the other

targeted firms. 19 To ensure that Jenner receives full relief, this Court should therefore enter a

detailed order along the lines of Jenner’s proposal. This will ensure that there is no ambiguity as

to what the government must do to remedy its blatantly unconstitutional conduct, and it will limit

the government’s avenues in its continuing effort to evade this Court’s orders.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny the government’s motion to dismiss, grant

Jenner’s motion for summary judgment on all claims, and enter the proposed order for declaratory

and permanent injunctive relief.




19 Anna Bower, Energy Dept. Instructs Employees to Gather Info on Deals with Law Firms,
Lawfare (Apr. 9, 2025, 6:27 PM), https://perma.cc/2JAT-EJGG; Kathryn Rubino, Flying in the
Face of Multiple Court Orders, CFTC Wants to ‘Ensure Compliance’ with Executive Orders
Targeting Biglaw, Above the Law (Apr. 10, 2025, 5:27 PM), https://perma.cc/J36C-H5M3.


                                                 45
     Case 1:25-cv-00916-JDB   Document 94    Filed 04/17/25     Page 57 of 57




Dated: April 17, 2025                 Respectfully submitted,



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                                     46
